      Case 1:18-cv-02268-AT-SN                 Document 371          Filed 03/13/25   Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                         3/13/2025


SET CAPITAL LLC, et al., Individually and on
Behalf of All Others Similarly Situated,

                                            Plaintiffs,                      18-CV-02268 (AT)(SN)

                          -against-                                     SETTLEMENT CONFERENCE
                                                                                ORDER
CREDIT SUISSE GROUP AG,
CREDIT SUISSE AG, CREDIT
SUISSE INTERNATIONAL,
TIDJANE THIAM, DAVID R. MATHERS,
JANUS HENDERSON GROUP PLC,
JANUS INDEX & CALCULATION SERVICES LLC,
and JANUS DISTRIBUTORS LLC d/b/a/
JANUS HENDERSON DISTRIBUTORS,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        A settlement conference is scheduled for Wednesday, April 9, 2025, at 10 a.m. in

Courtroom 219, Thurgood Marshall Courthouse, 40 Foley Square, New York, New York. If this

date is unavailable for any party, the parties are directed to jointly contact Courtroom Deputy

Diljah Shaw at Diljah_Shaw@nysd.uscourts.gov proposing new dates.

        The parties are directed to review and comply with the Procedures for Cases Referred for

Settlement to Magistrate Judge Sarah Netburn, a copy of which is available on the Court’s

website at https://nysd.uscourts.gov/hon-sarah-netburn. The parties are strongly encouraged to

engage in good-faith settlement negotiations before the settlement conference and preferably

before the submission to the Court of the Ex Parte Settlement Letters and Acknowledgment

Forms, which are to be submitted by email to Netburn_NYSDChambers@nysd.uscourts.gov, by
     Case 1:18-cv-02268-AT-SN          Document 371        Filed 03/13/25     Page 2 of 2



Wednesday, April 2, 2025. Should the parties resolve the litigation before the conference date,

they must notify the Court in writing immediately.

SO ORDERED.



                                                     SARAH
                                                      ARA
                                                       R H NETBURN
                                                     United
                                                      nited States Magistrate Judge
DATED:        March 13, 2025
              New York, New York




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